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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

- - 2%
Criminal Action No. y\A-cc OOHOD- CHD

FILED

UNITED STATES OF AMERICA, UNITED STATES DISTRICT COURT
DENVER, COLORADO
Plaintiff,
JUN 26 2019
v JEFFREY P. COLWELL
CLERK

1. STEPHEN J. YOBST,

 

Defendant.

 

INFORMATION

 

The United States Attorney charges that:

Count 1
(Wire Fraud and Aiding and Abetting)

At all times relevant to this Information:

1. Xcel Energy Services, Inc. (“Xcel”) was a national
utility company providing power services through various
subsidiaries throughout the United States to include the Public
Service Company of Colorado.

2. Pacific Exchange Group, Inc. (“PEG”) was a Colorado
corporation incorporated and founded by James Brittain
(“Brittain”) on March 15, 2005. (See U.S. v. Brittain, Case No.
18-cr-301-RM, District of Colorado)

3. The defendant, STEPHEN JOSEPH YOBST (“YOBST”), was
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employed by Xcel from approximately February 21, 2001, to
October 1, 2009, and held various positions and titles during
his employment. Specifically, from at least March of 2005,
through the termination of his employment on October 1, 2009,
YOBST was employed by Xcel as an officer holding the title of
“Category Manager, Sourcing and Purchasing”.

4, Starting in 2005, Xcel and PEG began negotiating the
terms of a commercial contract. On December 5, 2006, Xcel and
PEG entered into a commercial contract known as the Master
Exchange Agreement (“MEA”). In simple terms, the MEA was
designed to allow Xcel as a business to postpone paying taxes on
gains received from selling certain assets if the sale proceeds
were reinvested in similar property as a qualifying like-kind
exchange. Such like-kind exchanges and the potential tax
benefits from such transactions were permissible under the
Internal Revenue Code § 1031.

5. PEG and Xcel’s basic obligations under the MEA were as
follows: .

(A) PEG was required to maintain a bank account into which
the proceeds from the sale of Xcel Energy’s transformers and
fleet vehicles would be deposited. Such proceeds - referred to

as “exchange funds” — were to be held by PEG in trust on behalf
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of Xcel. PEG was required to hold these exchange funds until
directed by Xcel to distribute them for the purchase of
replacement assets. PEG was required to provide Xcel with a
detailed monthly accounting of such exchange funds.

(B) Xcel was to compensate PEG for its services under the
MEA by providing a 5% commission on the sale price for vehicles
and a 12% commission for transformers. In addition, with Xcel’s
“prior approval”, PEG could be “reimbursed” for “out-of-pocket
expenses” incurred for “professional legal and tax sérvices and
expenses.” Neither PEG nor its agents were entitled to any other
compensation or payments under the MEA.

The Scheme

6. Beginning on or about March 15, 2005, and continuing
through and including on or about May 14, 2015, in the State and
District of Colorado, defendant STEPHEN YOBST and Brittain
knowingly devised and intended to devise a scheme to defraud,
and for obtaining money and property by means of materially
false and fraudulent pretenses, representations and promises
from Xcel and aided and abetted the same...

7. As part of the scheme, YOBST and Brittain worked
together at times to impermissibly divert, use and convert

exchange funds for their personal benefit which funds they were
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not entitled to receive under the terms of the MEA. «Such
exchange funds were above and beyond any compensation or
payments which PEG was otherwise entitled to receive under the
MEA.

8. As part of the scheme, on March 18, 2005, YOBST opened
a bank account with Vectra Bank in Colorado in the name of
~ “Pacific Exchange Group” (hereinafter “PEG Vectra account”).

_ When opening the account, YOBST represented himself to be
“President” of PEG. Brittain joined the PEG Vectra account as
an authorized signatory on November 17, 2005. For the

’ approximately next nine years, the PEG Vectra account served as
the repository into which Xcel exchange funds were routinely
deposited following the sale of Xcel vehicles and transformers.

9. As part of the scheme, YOBST and Brittain assisted
each other and caused the following exchange funds to be taken
from the PEG Vectra account while knowing that PEG was required
to be holding such funds in trust for the benefit of Xcel:

(A) On January 15, 2009, YOBST wired $400,000 from the PEG
Vectra account to a bank account which he controlled. The next
day, on January 16, 2009, YOBST then transferred the $400,000 to
a Scottrade Brokerage account which he held exclusively in his

name. Both YOBST and Brittain, in a coordinated manner, then
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utilized such funds over the next approximately four years to
conduct multiple stock transactions and other investment
activity in the Scottrade Brokerage account. The profits earned
in the Scottrade Brokerage account were never returned to Xcel
but instead were ultimately kept and used by YOBST and Brittain
for their own personal use and consumption.

(B) From approximately August 2, 2009, through
approximately December 31, 2014, YOBST -- with Brittain’s
approval, knowledge and assistance -- caused approximately
$363,966 in payments from the PEG Vectra account to American
Express in connection with personal expenditures made by YOBST.

(C) On approximately June 15, 2010, YOBST - with Brittain’s
approval, knowledge and assistance — caused $42,250 to be wired
from the PEG Vectra account to Schomp Automotive in connection
with the purchase of a 2011 Honda Pilot vehicle which was
ultimately for the use and benefit of YOBST.

10. As part of the scheme, YOBST and Brittain, made or
caused to be made materially false and fraudulent pretenses,
representations and promises to include:

(A) During 2005 and 2006, XCEL and PEG were actively
involved in discussions and negotiations related to the terms of

the MEA. Brittain represented PEG during the negotiations.
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During this period, YOBST participated directly in the contract
negotiations on behalf of Xcel while employed in his capacity as
an officer holding the title of “Category Manager, Sourcing and
Purchasing”. However, YOBST and Brittain purposely concealed
from Xcel the fact that Brittain was in breach of his duty of
loyalty to Xcel as an officer because YOBST: (1) was also
working as a corporate officer for PEG at the same time; (2) had
a financial stake in PEG; (3) had opened up the PEG Vectra bank
account on March 18, 2005; and(4) was a joint signatory on the
PEG Vectra account into which Xcel exchange funds were being
deposited.

(B) From December 5, 2006, through October 1, 2009, while
YOBST was still employed at Xcel, YOBST and Brittain purposely
failed to provide Xcel with a detailed accounting of the
disposition of exchange funds and avoided providing Xcel with
PEG Vectra bank account statements. During this time period,
YOBST and Brittain caused $400,000 in Xcel funds to be paid into
a Scottrade brokerage trading account and began collecting
monthly payments in the amount of $10,500 from the PEG Vectra
account to “Havafund Inc.” (a company owned by YOBST) and JDRE
Inc. (a company owned by Brittain). During this entire time

period, YOBST and Brittain continued to hide the fact that YOBST
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was employed by both Xcel and PEG at the same time.

(C) On approximately September 4, 2014, Xcel filed a civil
complaint against PEG in Minnesota State Court seeking an
accounting of all exchange funds and a return of all unspent
funds. During the course of the next approximately eight
months, Brittain and YOBST, worked together to defeat Xcel’s
lawsuit by providing false and misleading information in
connection with the litigation. Among other things: (1)
Brittain drafted and caused YOBST to sign a false letter dated
September 3, 2014; said letter misrepresented that YOBST
recalled during the negotiations of the MEA, that Xcel’s
corporate officers had originally agreed to pay PEG’s
“programming fees” as a term of the MEA, and (2) Brittain
falsely testified in a deposition on February 17, 2015, about
the nature and length of time of his relationship with YOBST so
as to hide the fact that YOBST had been working closely with
Brittain as a PEG corporate officer since the inception of the
company.

The Wire
“11. On or about November 25, 2014, in the State and
District of Colorado, defendant YOBST, for the purpose of

executing the scheme described above in paragraphs 1 through 10
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of this Information, did cause to be transmitted by means of
wire communication in interstate commerce, certain writings,
signs, signals, pictures, and sounds, namely, a wire transfer of
$154,000 from a Colorado based Scottrade brokerage account to a
bank account in Montana, entitled “TriState Financial Services”,
which was an account controlled by and held for the benefit of

Brittain.

All in violation of Title 18, United States Code, Sections

1343 and 2.
Count 2
(Conspiracy to Defraud the United States)
12. Beginning in or about January 15, 2009, and continuing

through and including February 15, 2015, in the State and
District of Colorado and elsewhere, defendant STEPHEN J. YOBST,
did voluntarily, intentionally and knowingly conspire, combine,
confederate, and agree together and with another coconspirator,
James Brittain, to defraud the United States for the purpose of
impeding, impairing, obstructing, and defeating the lawful
Government functions of the Internal Revenue Service of the
Treasury Department in the ascertainment, computation,
assessment, and collection of revenue: to wit, personal income
taxes due and owing for calendar years 2011 through 2014, and

payment of past income taxes due and owing to the Internal
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Revenue Service (“IRS”) for calendar years 2001 through 2004.
Manner and Means
The manner and means used by the Defendant and YOBST to
further the conspiracy included the following:
13. It was part of the conspiracy that YOBST and Brittain
worked together to generate income from the business PEG during

the course of the conspiracy.

14. It was part of the conspiracy that YOBST and Brittain
worked together to conceal the assessment and collection of
personal income taxes owed to the IRS by Brittain for calendar
years 2011 to 2014, as it related to the Brittain’s PEG income
by utilizing various means, including:

(a) YOBST, as the personal tax return preparer for
Brittain, completed false personal tax returns
which substantially underreported Brittain’s true
income. Brittain then submitted such false
returns to the IRS.

(b)} YOBST, as the accountant for PEG, caused to be
prepared false W-2 Forms which substantially
underreported Brittain’s true income. The
Defendant then submitted such false W-2 forms to
the IRS when filing his tax returns.

(c) YOBST, as the accountant for PEG, made monthly
transfers of funds from PEG to Brittain, and
YOBST purposely mischaracterized the payments on
PEG Vectra bank account statements and corporate
accounting as “ACH Offsets” to an entity labelled
“JDRE”, when in fact such funds transfers were
direct income payments to Brittain.
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15. It was part of the conspiracy that YOBST and Brittain
attempted to avoid the collection of taxes due and owing by
Brittain to the IRS for tax years 2001 through 2004.
Specifically, as of August 24, 2007, Brittain owed back taxes to
the IRS for his personal income returns as follows:

2001 - $24,738

2002 - $3,529
2003 - $23,377
2004 - $34,514

In an effort to thwart and frustrate the IRS efforts to collect
such back taxes after August 24, 2007, YOBST and Brittain took

various steps to include:

(a) having YOBST purchase a parcel of land in Montana
for the benefit of Brittain using a corporation
controlled by YOBST;

(b) having YOBST maintain and utilize a stock trading
brokerage account into which funds from PEG were
transferred, and from which account both YOBST
and Brittain conducted various stock transactions
and generated personal income; and

(c) having Brittain’s personal income generated by
the brokerage account be paid to a bank account
held in the name of “Tristate Financial Services”
which was a nominee company controlled by the
Brittain.

Overt Acts
16. On or about January 15, 2009, YOBST wired $400,000

from the PEG Vectra account to a bank account which he

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controlled.

17. On or about January 16, 2009, YOBST then caused the
transfer of the $400,000 to a Scottrade Brokerage account held
exclusively in the name of YOBST.

18. On or about February 10, 2011, YOBST -- at Brittain’s
direction -- caused the transfer of $10,500 in funds from the
PEG Vectra bank account to a bank account controlled by
Brittain. In conducting the transaction, YOBST purposely
mischaracterized the payment on PEG corporate accounting records
and the PEG Vectra bank account statement as “ACH Offsets” to an
entity labelled “JDRE”.

19. On or about May 6, 2011, YOBST - while acting as a
nominee on behalf of Brittain - purchased a parcel of land
located at 212 High Road, Kalispel, Montana, (“Montana Parcel”)
for $320,000 using YOBST’s company “Royal and Ross, Inc.” as the
purchaser.

20. On or about February 21, 2012, YOBST prepared
Brittain’s personal tax return Form 1040EZ and Form W-2 for
calendar year 2011, which both falsely stated that Brittain’s
wage income was $30,330.

21. On or about March 19, 2012, Brittain filed a false

personal income tax return with the IRS for calendar year 2011.

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22. On or about April 8, 2013, YOBST prepared Brittain’s
personal tax return Form 1040EZ and Form W-2 for calendar year
2012, which both falsely stated that Brittain’s wage income was
$27,550.

23. On or about May 6, 2013, Brittain filed a false
personal income tax return with the IRS for calendar year 2012.

24. On or about January 21, 2014, YOBST prepared
Brittain’s personal tax return Form 1040A and Form W-2 for
‘calendar year 2013, which both falsely stated that Brittain’s
wage income was $21,600.

25. On or about November 10, 2014, Brittain filed a false
personal income tax return with the IRS for calendar year 2013.

26. On November 25, 2014, YOBST wire transferred $154,000
from a Colorado based Scottrade brokerage account to a bank
account in Montana, entitled “TriState Financial Services”,
which was an account controlled by and held for the benefit
Brittain.

27. On or about February 23, 2015, YOBST prepared
Brittain’s personal tax return Form 1040A and Form W-2 for
calendar year 2014, which both falsely stated that Brittain’s

wage income was $14,550.

28. On or about January 28, 2015, Brittain filed a false

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income tax return with the IRS for calendar year 2014.

29. On or about February 5, 2015, YOBST transferred the
Montana Parcel from his company “Royal and Ross, Inc.” to an
entity controlled by Brittain called “BA Whitefish Com, LLC.”

All in violation of Title 18, United States Code, Section

371.
Count 3
(Making and Subscribing a False Tax Return)
30. On or about March 2, 2017, in the State and District of

Colorado, the defendant STEPHEN J. YOBST, a resident of
Colorado, did willfully make and subscribe, a U.S. Individual
Income Tax Return, Form 1040, for the calendar year 2015, which
was verified by a written declaration that it was made under
penalties of perjury and which he did not believe to be true and
correct as to every material matter. The income tax return,
which was filed with the Internal Revenue Service, reported
adjusted gross income of “-$11,618”, total tax owed of $0, anda
refund amount of $70 owed by the I.R.S., whereas, as he then and
there well knew in truth and in fact, that his adjusted gross
income was in excess of $1,000,000, total tax owed was over
$200,000, and he was not entitled to a refund from the I.R.S.
All in violation of Title 26, United States Code, Section

7206(1).

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Count 4
(Theft of Government Funds)

31. The Supplemental Nutrition Assistance Program (“SNAP”),
formerly known as the Food Stamp Program, is a United States
Department of Agriculture (“USDA”) food assistance program for
low-income individuals and families. SNAP is administered by
the Food and Nutrition Service, providing federal funds to state
and local governments that subsequently distribute the money to
qualifying families for the purchase of food.

32. The amount of funds received by SNAP beneficiaries is
determined by several factors, including household size and
household income.

33. For eligible Denver residents, SNAP benefits are
administered through Denver Human Services, which is authorized
by the USDA to act on its behalf.

34. Beginning on or about December 26, 2012, and continuing
through and including on or about August 30, 2017, in the State
and District of Colorado, defendant STEPHEN YOBST, did knowingly
steal, purloin, and convert to his own use money of the USDA, a
department of the United States, that is, SNAP benefit funds
totaling $12,968, having a value in excess of $1,000, to which

he knew he was not entitled.

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All in violation of Title 18, United States Code, Section
641.

Forfeiture Allegation

35. The allegations contained in Counts One and Four of
this Information are hereby re-alleged and incorporated by
reference for the purpose of alleging forfeiture pursuant to the
provisions of Title 18, United States Code, Section 981(a) (1) (C)
and Title 28, United States Code, Section 2461(c).

36. Upon conviction of the violation alleged in Counts One
and Four of this Information involving the commission of
violations of Title 18, United States Code, Sections 1343 and
641, defendant STEPHEN J. YOBST shall forfeit to the United
States, pursuant to Title 18, United States Code, Section
981 (a) (1) (C) and Title 28, United States Code, Section 2461(c),
any and all of the defendant*‘s right, title and interest in all
property constituting and derived from any proceeds the
defendant obtained directly and indirectly as a result of such
offense, including, but not limited to:

a. $64,075.98 from JP Morgan Chase Bank Account Number
699730698;

b. $16,286.55 from JP Morgan. Chase Bank Account Number

538397865;

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c. $29,175.00 from JP Morgan Chase Bank Account Number

532065773;

d. $228,123.52 from JP Morgan Chase Bank Account Number

739580830;

e, All funds held in Heritage International Bank, Belize,

Account Number 704973;

f. All funds held in Heritage International Bank, Belize,

Account Number 600913;

g. $400,598.78 from JP Morgan Chase Bank Account Number

3368318670; -

h. All funds held in Pershing Account Number 109168997; and

i. A money judgment in the amount of proceeds obtained by

the defendant and the scheme.

37.. If any of the property described above, as a result of

any act or omission of the defendant:

a)

b)

cannot be located upon the exercise of due
diligence;

has been transferred or sold to, or deposited
with, a third

party;
has been placed beyond the jurisdiction of th
Court;

has been substantially diminished in value; or
has been commingled with other property which
cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), as incorporated by Title 28,

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United States Code, Section 2461(c), to seek forfeiture of any

other property of said defendant up to the value of the

forfeitable property.

JASON R. DUNN
United’ States Attorney

By:

Md

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